

People v Engelhardt (2023 NY Slip Op 01463)





People v Engelhardt


2023 NY Slip Op 01463


Decided on March 17, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 17, 2023

PRESENT: SMITH, J.P., LINDLEY, CURRAN, OGDEN, AND GREENWOOD, JJ. (Filed Mar. 17, 2023.) 


KA 22-00580.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vGEORGE W ENGELHARDT II, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Judgment unanimously affirmed. Counsel's motion to be relieved of assignment granted (see People v Crawford , 71 AD2d 38 [4th Dept 1979]). (Appeal from Judgment of Wyoming County Court, Michael M. Mohun, J. - Criminal Contempt, 2nd Degree).








